                      Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 1 of 31 Page ID #:344



                       1   VEDDER PRICE (CA), LLP
                           Anthony Pacheco (Cal. Bar No. 128277)
                       2   apacheco@vedderprice.com
                       3   Maura L. Riley (Cal. Bar No. 319826)
                           mriley@vedderprice.com
                       4   1925 Century Park East, Suite 1900
                           Los Angeles, California 90067
                       5   T: +1 424 204 7700
                           F: +1 424 204 7702
                       6

                       7   VEDDER PRICE P.C.
                           Brooke E. Conner (Pro Hac Vice)
                       8   bconner@vedderprice.com
                           222 N. LaSalle Street
                       9   Chicago, Illinois 60601
                           T: +1 312 609 7500
                      10
                           F: +1 312 609 5005
                      11
                           Attorneys for Defendant David H. Wright
                      12

                      13                                  UNITED STATES DISTRICT COURT

                      14                                 CENTRAL DISTRICT OF CALIFORNIA

                      15

                      16   UNITED STATES OF AMERICA,                     Case No. 2:21-cr-00559-1

                      17                    Plaintiff,                   DEFENDANT DAVID H. WRIGHT’S
                                                                         SENTENCING MEMORANDUM
                      18          v.
                                                                         [Filed concurrently with Supporting
                      19   DAVID H. WRIGHT,                              Exhibits; Objections to Presentence
                      20                                                 Investigation Report]
                                            Defendant.
                      21                                                 Hon. Stanley Blumenfeld, Jr.

                      22                                                 Hearing Date:     April 26, 2022
                                                                         Hearing Time:     8:00 a.m.
                      23

                      24

                      25

                      26

                      27

                      28
VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW                                                        DEFENDANT’S SENTENCING MEMORANDUM
      LOS ANGELES
                                                                                                   2:21-CR-00559-1
                      Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 2 of 31 Page ID #:345



                       1          Defendant DAVID H. WRIGHT, by and through his counsel of record, hereby respectfully
                       2   submits his Sentencing Memorandum and concurrently files herewith supporting Exhibits and
                       3   Objections to Presentence Investigation Report.
                       4          Mr. Wright’s Sentencing Memorandum consists of these papers, the pleadings, records and
                       5   files in this matter, and such evidence, argument and additional materials that may be presented at
                       6   Mr. Wright’s sentencing hearing.
                       7
                           Dated: April 12, 2022                             VEDDER PRICE (CA), LLP
                       8

                       9
                                                                             By:
                      10
                                                                                   Anthony Pacheco
                      11                                                           Brooke E. Conner
                                                                                   Maura L. Riley
                      12
                                                                             Attorneys for Defendant
                      13                                                     David H. Wright
                      14

                      15

                      16

                      17

                      18

                      19

                      20

                      21

                      22

                      23

                      24

                      25

                      26

                      27

                      28
VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW                                                                DEFENDANT’S SENTENCING MEMORANDUM
      LOS ANGELES
                                                                                                          2:21-CR-00559-1
                      Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 3 of 31 Page ID #:346



                       1                                                      TABLE OF CONTENTS
                       2                                                                                                                                      Page
                       3   PRELIMINARY STATEMENT..................................................................................................... 1
                       4   FACTUAL BACKGROUND ......................................................................................................... 2
                       5             I.         BACKGROUND .................................................................................................... 2
                                     II.        PERSONAL HISTORY AND CHARACTERISTICS........................................... 2
                       6
                                                A.         Family Background ..................................................................................... 2
                       7
                                                B.         Childhood and School ................................................................................. 3
                       8                        C.         Teenage Employment.................................................................................. 4
                       9                        D.         College, Marriage, and Children ................................................................. 5

                      10                        E.         Coming Out of The Closet .......................................................................... 5
                                                F.         Spotless Career as A Public Servant ........................................................... 7
                      11
                                                G.         Diagnosis of Celiac Disease ........................................................................ 8
                      12
                                     III.       NATURE OF THE OFFENSE ............................................................................... 9
                      13                        A.         Troubles at the LADWP ............................................................................. 9
                      14                        B.         Paul Paradis’s Outsized Influence on Mr. Wright .................................... 11
                                                C.         The Illegal Agreement............................................................................... 13
                      15
                                     IV.        COOPERATION EFFORTS ................................................................................ 15
                      16
                           ARGUMENT ................................................................................................................................ 16
                      17             I.         THE NATURE AND CIRCUMSTANCES OF THE OFFENSE SUPPORT
                      18                        A LOWER SENTENCE ....................................................................................... 17
                                     II.        THE HISTORY AND CHARACTERISTICS OF THE DEFENDANT
                      19                        SUPPORT A LOWER SENTENCE..................................................................... 19
                      20                        A.         Mr. Wright’s Long Career as An Exemplary Public Servant ................... 20
                      21                        B.         Mr. Wright Is A Pillar of His Family and Community ............................. 20
                                                C.         Mr. Wright’s Clean Record ....................................................................... 22
                      22
                                                D.         Need to Avoid Unwarranted Disparities Among Similar Offenders ........ 22
                      23
                                                E.         Mr. Wright’s Deep Remorse and Plea for Compassion ............................ 23
                      24   CONCLUSION ............................................................................................................................. 24
                      25

                      26

                      27

                      28
VEDDER PRICE (CA), LLP
                                                                                                                             DEFENDANT’S SENTENCING
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                                               -i-                         MEMORANDUM 2:21-CR-00559-1
                           VP/#55494026.6
                      Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 4 of 31 Page ID #:347



                       1
                                                                           TABLE OF AUTHORITIES
                       2
                                                                                                                                                            Page(s)
                       3
                           Cases
                       4

                       5   Kimbrough v. United States,
                              552 U.S. 85 (2007) .................................................................................................................... 2
                       6
                           United States v. Booker,
                       7      543 U.S. 220 (2005) ................................................................................................................ 16
                       8   Beckles v. United States,
                              137 S. Ct. 886, 894 (2017) ...................................................................................................... 16
                       9
                           Gall v. United States,
                      10
                              552 U.S. 38 (2007) .................................................................................................................. 16
                      11
                           Rita v. United States,
                      12       551 U.S. 338 (2007) ................................................................................................................ 16

                      13   United States v. Robertson,
                              662 F.3d 871 (7th Cir. 2011)................................................................................................... 16
                      14
                           United States v. Cardenas-Juarez,
                      15
                              469 F.3d 1331 (9th Cir. 2006)................................................................................................. 16
                      16
                           United States v. Gorman,
                      17      807 F.2d 1299 (6th Cir. 1986)................................................................................................. 18

                      18   United States v. Scruggs,
                              916 F. Supp. 2d 670, 701 (N.D. Miss. 2012) .......................................................................... 18
                      19
                           Pepper v. United States,
                      20      562 U.S. 476 (2011) .......................................................................................................... 17, 24
                      21
                           United States v. Lauersen,
                      22      348 F.3d 329 (2d Cir. 2003) .................................................................................................... 17

                      23   United States v. Suarez-Reyes,
                              2012 U.S. Dist. LEXIS 178771 (D. Neb. Dec. 18, 2012) ................................................. 17, 22
                      24
                           United States v. Adelson,
                      25      441 F. Supp. 2d 506 (S.D.N.Y. 2006), aff’d, 301 F. App’x 92 (2d Cir. 2008) ....................... 19
                      26   United States v. Howe,
                      27      543 F.3d 128 (3d Cir. 2008) .................................................................................................... 22

                      28
VEDDER PRICE (CA), LLP
                                                                                                        DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                                            - ii -                              2:21-CR-00559-1
                           VP/#55494026.6
                      Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 5 of 31 Page ID #:348



                       1   United States v. Rowan,
                              No. 06-321, 2007 U.S. Dist. LEXIS 2126 (E.D. Pa. Jan. 10, 2007) ....................................... 22
                       2
                           Statutes
                       3

                       4   18 U.S.C. § 666(a)(1)(B) ............................................................................................................ 1, 2

                       5   18 U.S.C. § 3553(a) ............................................................................................................... passim

                       6   18 U.S.C. § 3553(a)(1) .................................................................................................................. 19

                       7   18 U.S.C. § 3553(a)(2) .................................................................................................................. 24
                       8   U.S.S.G. § 2B1.1 ....................................................................................................................... 1, 18
                       9   U.S.S.G. § 2C1.1(b)(1) ................................................................................................................. 18
                      10   U.S.S.G. § 3E1.1 ............................................................................................................................. 2
                      11

                      12

                      13

                      14

                      15

                      16

                      17

                      18

                      19

                      20

                      21

                      22

                      23

                      24

                      25

                      26

                      27

                      28
VEDDER PRICE (CA), LLP
                                                                                                          DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                                             -iii-                                2:21-CR-00559-1
                           VP/#55494026.6
                      Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 6 of 31 Page ID #:349



                       1                                    PRELIMINARY STATEMENT
                       2            There are compelling factual and legal grounds for the Court to impose a sentence well
                       3   below the applicable United States Sentencing Guidelines (“Sentencing Guidelines”) range, which
                       4   would result in an unfair and unjust sentence if applied in this case.
                       5            First, the Guidelines’ offense level overstates the seriousness of Mr. Wright’s offense.
                       6   Mr. Wright pled guilty to a one-count Information to bribery pursuant to 18 U.S.C. § 666(a)(1)(B).
                       7   Although this is a serious offense for which Mr. Wright is extraordinarily embarrassed and
                       8   remorseful, the context of the bribe must be considered so that the Court can impose a sentence that
                       9   is “sufficient, but not greater than necessary” pursuant to 18 U.S.C. § 3553(a). In this matter,
                      10   Mr. Wright received meals, travel, and event tickets from Paul Paradis, but he did not receive any
                      11   of the proposed proceeds of his job offer from Mr. Paradis, including the offered $1 million salary,
                      12   the luxury car, or the signing bonus that he and Mr. Paradis agreed upon as part of the bribery
                      13   scheme. The “bribe amount” (the loss) therefore greatly overstates the seriousness of the offense.
                      14   This warrants a substantial downward departure under U.S.S.G. § 2B1.1, App. Note 21(C) and a
                      15   variance under Title 18 U.S.C. § 3553(a).
                      16            Second, Mr. Wright’s crime was not consistent with his character. When Mr. Wright went
                      17   to work at the Los Angeles Department of Water and Power (“LADWP”) and was quickly
                      18   promoted to several high-level managerial positions, he ended up in a situation that was way over
                      19   his head. The instant charges are an aberration in an otherwise long, successful career free of
                      20   impropriety. Prior to being named General Manager of the LADWP, Mr. Wright had worked for
                      21   nearly three decades in managerial positions in the public sector. He had always been an excellent
                      22   manager, and, prior to the instant matter, his personal and professional record was spotless. As
                      23   reflected in the letters of support submitted on his behalf, Mr. Wright is a loving and caring man at
                      24   work and at home, where he provides critical emotional support to his partner, ex-wife, children,
                      25   and grandchildren. Mr. Wright has fully accepted responsibility and has cooperated fully with the
                      26   government during the course of its investigation. He has no criminal history—indeed, Mr. Wright
                      27   has no prior negative interactions with law enforcement whatsoever in his 62 years—and has
                      28   otherwise led an exemplary life, marked by kindness, generosity, and hard work.
VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW                                                                DEFENDANT’S SENTENCING MEMORANDUM
      LOS ANGELES
                                                                                                           2:21-CR-00559-1
                           VP/#55494026.6
                      Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 7 of 31 Page ID #:350



                       1            For these reasons, which are discussed in greater detail below, Mr. Wright respectfully asks
                       2   that the Court grant his requests for downward departures under the Guidelines and variances under
                       3   18 U.S.C. § 3553(a) to a sentence less than 24 months that is “sufficient, but not greater than
                       4   necessary” to accomplish the sentencing goals in this case. Kimbrough v. United States, 552 U.S.
                       5   85, 101 (2007) (quoting 18 U.S.C. § 3553(a)).
                       6                                      FACTUAL BACKGROUND
                       7   I.       BACKGROUND
                       8            Mr. Wright is a 62-year-old man who, until February 2017, spent his career as a model
                       9   public servant. His criminal history is limited to his participation in the instant offense. Mr. Wright
                      10   pled guilty to a single count of bribery in violation of 18 U.S.C. § 666(a)(1)(B). ECF 7. The charge
                      11   arises from a bribery scheme orchestrated by Mr. Paradis while Mr. Wright was the General
                      12   Manager of the Los Angeles Department of Water and Power. PIR ¶¶ 10-14. Mr. Wright pleaded
                      13   guilty pursuant to a written plea agreement, ECF 7, and completely accepts responsibility.
                      14            In the plea agreement, the parties agreed to applicable Sentencing Guidelines factors that
                      15   result in an adjusted offense level of 33 after applying a three-level reduction for Mr. Wright’s
                      16   acceptance of responsibility. ECF 7. The United States Probation Office found no basis to apply
                      17   any sentencing enhancement. PIR ¶ 73. The resulting advisory Guideline range for an offense
                      18   level 33 with criminal history category I exceeds the statutorily authorized maximum sentence,
                      19   which is 120 months’ imprisonment. PIR ¶ 171; U.S.S.G. § 5G1.1(a). The plea agreement permits
                      20   Mr. Wright to argue for applicable departures and also for downward adjustments under
                      21   Section 3553(a). ECF 7 at 6. In fact, based on the strength of the factors in mitigation, the
                      22   probation officer recommended a downward variance from the advisory range to 72 months.
                      23   ECF 35 at 1.
                      24   II.      PERSONAL HISTORY AND CHARACTERISTICS
                      25            A.      Family Background
                      26            David Wright was born in 1960 to Alan and Sheila Wright. PIR ¶ 88. Mr. Wright’s parents
                      27   grew up in Birmingham, England and came to the United States in the mid-1950s. Once in the
                      28   United States, Alan earned a degree in mechanical engineering at California State University, Long
VEDDER PRICE (CA), LLP
                                                                                   DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -2-                              2:21-CR-00559-1
                           VP/#55494026.6
                      Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 8 of 31 Page ID #:351



                       1   Beach, and then worked for Beckman Instruments as an engineer in the City of Fullerton. As a
                       2   young woman, Sheila worked as a bank teller. Mr. Wright recalls that his mother was quite well-
                       3   read and instilled in him a love of reading. PIR ¶ 98. Sheila died at the age of 74, and Alan passed
                       4   away in 2016 at the age of 86. PIR ¶ 88.
                       5            Mr. Wright has two siblings. His brother, Martin John Wright, lives in Anaheim Hills,
                       6   California. Mr. Wright’s sister, Susan Marjorie Caballero, lives in Yorba Linda, California with
                       7   her husband and children. PIR ¶ 91.
                       8            B.      Childhood and School
                       9            When Mr. Wright began elementary school in the City of Orange, he quickly learned he
                      10   was different than his peers:
                      11                    I started kindergarten and discovered I was no good at the sports that
                                            seemed to come naturally to most of the boys. Instead of rough and
                      12
                                            tumble games, I liked painting and drawing. I loved to color and was
                      13                    happy playing indoor imaginative games.

                      14                    Much later, my mother told me that she and my dad were already
                                            wondering if I was gay when I was only 3 years old.1
                      15
                           Money was tight during Mr. Wright’s elementary school years. Although there was always food
                      16
                           on the table and a roof over his head, unlike most of his classmates, Mr. Wright wore his jeans and
                      17
                           tennis shoes until they were completely worn out.2 In middle school, he was called horrible names
                      18
                           nearly every day by his classmates. Id. Mr. Wright, who was overweight during much of his
                      19
                           childhood and adolescence, remembers keeping quiet in class to hide his intelligence. PIR ¶ 100.
                      20
                                    He took refuge in school and extracurriculars, where he excelled. In middle school,
                      21
                           Mr. Wright took up the saxophone and played in the band and the marching band from the seventh
                      22
                           through the twelfth grade. PIR ¶ 102. Mr. Wright’s childhood friend, Daniel Lelchuk (“Lelchuk”).
                      23
                           Lelchuk, who serves as a Senior Vice President for a large auto parts distributor, describes meeting
                      24
                           Mr. Wright when they were both selected for advanced classes in fifth grade. D. Lelchuk Ltr., Ex.
                      25
                           2. Throughout middle and high school, Mr. Wright, Mr. Lelchuk, and their friends were “high
                      26

                      27   1
                             The language from Mr. Wright quoted or referenced herein arises from comments Mr. Wright
                           shared with the probation office.
                      28   2
                             See supra, footnote 1.
VEDDER PRICE (CA), LLP
                                                                                    DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                           -3-                              2:21-CR-00559-1
                           VP/#55494026.6
                      Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 9 of 31 Page ID #:352



                       1   achievers, who also participated in various extra-curriculars such as band, sports, scouting” but
                       2   “Dave was always the friend I could talk to.” Id. Villa Park High School offered a strong
                       3   curriculum and Mr. Wright generally enjoyed all his subjects. In the twelfth grade, he had an
                       4   excellent English teacher who introduced him and the class to the literary classics. Mr. Wright
                       5   recalls that he began reading Dickens, Steinbeck, and Kurt Vonnegut, and when time permits, he
                       6   still reads them to this day.3 Years later, when Mr. Wright was 45, he wrote letters to his twelfth-
                       7   grade English teacher and his chemistry teacher in which he expressed his gratitude for all the help
                       8   they had given him.4
                       9            C.      Teenage Employment
                      10            Although the Wrights’ financial situation improved gradually as Mr. Wright moved into
                      11   adolescence, money was still tight, and he gladly took whatever jobs came his way. PIR ¶ 103.
                      12   Throughout his teens, he worked four days a week at a hair salon sweeping up and washing the
                      13   floors and fixtures, then at a soft-serve ice cream shop, and later at an art store. PIR ¶ 103. He was
                      14   a quick learner and was recognized as an excellent employee.
                      15            Mr. Wright’s father Alan also taught Mr. Wright home construction, which has been a part
                      16   of Mr. Wright’s life ever since. PIR ¶ 102. Mr. Wright recalls that by the age of 12, he could hang
                      17   wallpaper without help. While still a teenager, after helping his father construct several patio
                      18   covers, Mr. Wright began designing his own. Id. He enjoyed the process of developing a design
                      19   and getting it down on paper and, over the years, has remodeled parts of numerous houses. During
                      20   college, Mr. Wright began fixing up houses, starting in an older neighborhood in Anaheim. PIR ¶
                      21   104. He would redesign the yards and would update and improve various features in the homes.
                      22   Based on the expertise that he began developing in his youth and cultivated into adulthood,
                      23   Mr. Wright won a Neighborhood Beautification Award when he was 38. In total, he has improved
                      24   about a dozen homes in Riverside.5
                      25

                      26

                      27   3
                             See supra, footnote 1.
                           4
                             See supra, footnote 1.
                      28   5
                             See supra, footnote 1.
VEDDER PRICE (CA), LLP
                                                                                   DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -4-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 10 of 31 Page ID #:353



                       1             D.     College, Marriage, and Children
                       2             After high school, Mr. Wright attended California State University, Fullerton (“CSUF”).

                       3   PIR ¶ 104. He majored in accounting and worked at various restaurants to put himself through

                       4   school. Id. Mr. Wright earned his Bachelor’s Degree in Business in 1982, then went directly into

                       5   an MBA program with an emphasis on accounting at his father’s encouragement. PIR ¶ 105.

                       6   Mr. Wright continued working evenings as a server until he completed his MBA in 1985. He

                       7   recalls that during his years of restaurant service, he made a conscious choice to try and overcome

                       8   the insecurities that had arisen due to the constant bullying he endured throughout elementary and

                       9   middle school.6 Mr. Wright worked hard to develop his customer service skills, which were to

                      10   stand him in good stead as he began his professional career.

                      11             It was at one of these restaurant jobs where he met his future wife and the mother of his

                      12   children, Carolyn Raney (“Carolyn”). In her letter to the Court, Carolyn writes “I had never met

                      13   anyone more kind, caring and generous than Dave. I knew that he would be in my life for a long

                      14   time.” C. Wright Ltr., Ex. 3. They soon became friends, then a couple, and were married in June of

                      15   1980 while still in college.

                      16             During his 13-year marriage to Carolyn, Mr. Wright was extremely busy with work, school,

                      17   and parenting. PIR ¶ 107. Around the time he was in graduate school, he and Carolyn had three

                      18   sons in quick succession. He built a close relationship with his sons, which he maintains to this

                      19   day. The three boys all followed the example set by their father and pursued careers in public

                      20   service as adults. Evan is a member of the Riverside Police Department SWAT team; Jeff works

                      21   for the City of Riverside Public Utilities; and Spencer works as an engineer at the LADWP. PIR

                      22   ¶ 95.

                      23             E.     Coming Out of The Closet
                      24             For at least a decade, Mr. Wright and Carolyn were very much in love and worked well

                      25   together. He remembers, “for quite a while, I completely buried any thoughts about being gay.”7

                      26   Due to his fear of intense societal disapproval, Mr. Wright had spent decades denying his true

                      27
                           6
                               See supra, footnote 1.
                      28   7
                               See supra, footnote 1.
VEDDER PRICE (CA), LLP
                                                                                  DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -5-                             2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 11 of 31 Page ID #:354



                       1   nature as a gay man, but as he moved into his early thirties, he realized that he had to face his
                       2   homosexuality openly. Mr. Wright spoke frankly to Carolyn about his orientation, and they agreed
                       3   to separate. Mr. Wright was 33 and Carolyn was 35. Mr. Wright recalls, “I felt terrible about
                       4   breaking up our nuclear family, but knew I had to do it.”
                       5            Although their separation was amicable, Mr. Wright was devastated by the fact that his
                       6   marriage was over.      He was determined to continue caring for his family emotionally and
                       7   financially. He moved back home with his parents in Anaheim Hills and continued to spend time
                       8   with his children daily. He spent the weekends with the kids at Carolyn’s house while she stayed
                       9   with nearby relatives. In his letter to the Court, Evan Wright writes:
                      10                    During my childhood, my dad taught me and showed me some very
                                            important things that have helped me and shaped me during my life.
                      11
                                            My dad taught me not to judge someone because of their race,
                      12                    gender, sexual preference, etc. He didn’t have to tell me not to do
                                            this, he showed me through his actions and this has helped me
                      13                    tremendously, especially as a police officer. My dad also taught and
                                            showed me what it’s like to have a strong work ethic and provide for
                      14                    my family. E. Wright Ltr., Ex. 4.
                      15            Carolyn remembers “[a]lthough we were separated, Dave never stopped caring for me and
                      16   always made sure that I had everything I needed to care for our children and that the children and
                      17   I had a good place to live.” C. Wright Ltr., Ex. 2. Mr. Wright suggested that since Carolyn enjoyed
                      18   working with kids, she should consider going back to school to become a teacher. Indeed, Mr.
                      19   Wright financially supported Carolyn while she went to night school to earn her bachelor’s degree
                      20   from CSUSB and receive her teaching credentials. C. Wright Ltr., Ex. 3. When Mr. Wright
                      21   accepted a job in San Diego, although he and Carolyn had been separated for five years, they got
                      22   along so well that she decided to move to San Diego so that Mr. Wright would still be able to see
                      23   the children without driving for two or three hours in either direction. At that point, Carolyn had
                      24   not yet started teaching, and Mr. Wright was providing complete financial support for her and the
                      25   kids.
                      26            Mr. Wright has been in a stable, committed relationship with his partner, Vincent J. Price
                      27   (“Vincent”), for the past 18 years. PIR ¶ 93. Vincent works for the City of Riverside as a Principal
                      28
VEDDER PRICE (CA), LLP
                                                                                  DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -6-                             2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 12 of 31 Page ID #:355



                       1   IT Analyst. He performs internal audits and does compliance work, ensuring, among other things,
                       2   that all licenses are up to date. In his letter, Vincent writes:
                       3                    As a veteran having served over 10 years in the Air Force, we were
                                            always taught to have a high level of discipline and to be honorable
                       4
                                            at all times; I believe David has those qualities despite not having
                       5                    served in the armed forces. I think he has a high regard for being a
                                            father, and has always made sure to try and instill those same
                       6                    qualities in his children.” V. Price Ltr., Ex. 6.
                       7             F.     Spotless Career as A Public Servant
                       8             Mr. Wright’s first job after graduating with his MBA was at a top-rated national accounting

                       9   firm in San Bernardino, where he served as an auditor completing government audits at various

                      10   agencies and local communities. Mr. Wright earned glowing reviews. After a year, he was

                      11   promoted to Senior Auditor.

                      12             Soon thereafter, Mr. Wright began his career in public utilities, which has taken him to

                      13   different agencies and different municipalities. He was very good at his job and parlayed that into

                      14   high-level positions that rewarded his hard work. PIR ¶ 110. Mr. Wright found utilities very

                      15   interesting: “I already knew something about building houses. Now I was learning about the greater

                      16   infrastructure that brings power and water to our homes.”8 However, these positions were stressful

                      17   and took a toll on Mr. Wright’s physical and emotional health. PIR ¶ 110.

                      18             His first job in the public sector was an Internal Auditor job with the City of Riverside.

                      19   After six months on the job, he was promoted to City Controller. His new duties included managing

                      20   general accounting, overseeing the annual audit and accounts payable and receivable, and analyzing

                      21   the cost of providing city services to residents. Mr. Wright recalls, “[b]ecause I had a strong

                      22   financial and customer service background, I was assigned to develop individual, cost-based

                      23   contracts with our large customers. I eventually negotiated about 25 to 30 multi-year contracts,

                      24   with some approaching $15M.”9

                      25             In 1993, Mr. Wright accepted a job as CFO for Riverside Public Utilities (“RPU”). PIR

                      26   ¶ 152. He worked there for 5 years, and, after a brief stint as the CFO of the San Diego Water

                      27
                           8
                               See supra, footnote 1.
                      28   9
                               See supra, footnote 1.
VEDDER PRICE (CA), LLP
                                                                                     DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                           -7-                               2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 13 of 31 Page ID #:356



                       1   Authority, returned to RPU for another 15 years when RPU had offered him the Deputy General
                       2   Manager position. Mr. Wright was thrilled, but his new position was a huge responsibility. PIR
                       3   ¶ 151. As Deputy General Manager, he handled the contracts for the top 10 percent of the
                       4   customers. That meant Mr. Wright needed to be a jack-of-all-trades—he handled the marketing,
                       5   he handled accounting analysis, and he had to develop a solid working knowledge of the technology
                       6   required to transmit water and power. Id.
                       7            Yet, Mr. Wright rose to the challenge. Under Mr. Wright’s stewardship, RPU had the
                       8   highest customer satisfaction rating of any public utilities company in America. His colleagues,
                       9   like Michael Bacich, who has served as an executive in the utilities industry for the past 22 years,
                      10   describe Mr. Wright as a “visionary,” “unparalleled as a department head in the City of Riverside’s
                      11   long history.” M. Bacich Ltr., Ex. 7. “Under his leadership, the City of Riverside was given more
                      12   recognition in terms of awards and financial benefit (as in the case of the 2009 American Recovery
                      13   and Reinvestment Act) than at any time in the history of the city… His work brought local, state,
                      14   national, and international acclaim to the City of Riverside.” Id.
                      15            Ultimately, Mr. Wright’s hard work and skill continued to send him up the corporate ladder,
                      16   to bigger and bigger utilities, taking larger and larger roles. He was hired by the Las Vegas Valley
                      17   Water District as the CFO and then the major league—LADWP wanted him to be its General
                      18   Manager.
                      19            G.      Diagnosis of Celiac Disease
                      20            Even while he was achieving success at work, Mr. Wright was suffering privately. Since
                      21   about 2007, Mr. Wright had been suffering alarming physical symptoms, the worst of which were
                      22   perpetual fatigue and persistent diarrhea, sometimes as much as 5 to 10 times a day. PIR ¶ 131.
                      23   Mr. Wright underwent a medical workup that revealed he had a serious iron deficiency, which,
                      24   according to his doctor, had rendered him anemic. Id. For the next 10 years, Mr. Wright cycled
                      25   through the same pattern over and over—his doctor would prescribe iron supplements,
                      26   Mr. Wright’s symptoms would subside after taking them for a month or two, his doctors would tell
                      27   him to stop taking the iron supplements to avoid negative side effects, and then his symptoms
                      28   (fatigue and diarrhea) would flare again. Id.
VEDDER PRICE (CA), LLP
                                                                                  DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                           -8-                            2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 14 of 31 Page ID #:357



                       1             Approximately 10 years later, while struggling with the pressures of his new high-level
                       2   management position at the LADWP, Mr. Wright’s symptoms flared frighteningly. PIR ¶ 132. He
                       3   experienced extreme fatigue and near constant diarrhea. This period coincided with Mr. Wright
                       4   attempting and failing to adjust successfully to the pressures and obstacles he faced at the LADWP.
                       5   A medical workup performed in October of 2017 revealed that his iron levels were once again very
                       6   low. This time, however, Mr. Wright’s doctors decided to biopsy his small intestine. The results
                       7   indicated that he was suffering from celiac disease, an autoimmune disorder. PIR ¶ 132. It had
                       8   been tormenting him, untreated, for more than a decade.
                       9             It was at this time in the middle of 2017, while struggling with his debilitating symptoms
                      10   and prior to his celiac disease diagnosis, that he made the self-destructive decision to enter into the
                      11   illegal agreement with Mr. Paradis. Mr. Wright is fully aware that the fact that he was operating at
                      12   a significant handicap during this period does not and cannot excuse his illegal conduct. It does,
                      13   however, help to explain why this well-meaning, pro-social individual made a series of bad
                      14   decisions (in his late fifties) during his years at the LADWP.
                      15   III.      NATURE OF THE OFFENSE
                      16             A.     Troubles at the LADWP
                      17             Mr. Wright started work at the LADWP on February 15, 2015. Despite his sparkling
                      18   resume as a public utilities manager, it quickly became apparent that Mr. Wright was out of his
                      19   depth. The LADWP is the largest municipal utility in the United States. PIR ¶ 10. It employs
                      20   approximately 10,000 people and has an annual budget of around $6 billion. PIR ¶ 111. By way
                      21   of comparison, the LADWP is approximately 20 times larger than Mr. Wright’s previous long-term
                      22   employer, RPU. Yet the LADWP appeared to be perpetually understaffed. Mr. Wright recalls that
                      23   when he first started working at the LADWP, frustrated customers who called to complain were
                      24   often kept on hold for up to an hour.10
                      25             It only took a few weeks on the job for Mr. Wright to discover that the LADWP had myriad
                      26   problems, perhaps the most obvious of which was its billing problem. PIR ¶ 111. Eighteen months
                      27   prior to Mr. Wright’s starting date, the LADWP had signed a $70 million contract with
                      28   10
                                See supra, footnote 1.
VEDDER PRICE (CA), LLP
                                                                                   DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -9-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 15 of 31 Page ID #:358



                       1   PricewaterhouseCoopers (“PwC”) that required the accounting firm to implement software that
                       2   would repair and streamline the LADWP’s billing processes, while also providing accurate billing
                       3   to its customers. At that time, the billing system was in such disrepair that billing mistakes
                       4   amounting to $1 billion had occurred in recent years. When PwC failed to provide the curative
                       5   measures to the billing system that it was under contract to deliver, approximately one month before
                       6   Mr. Wright was hired, the Los Angeles City Attorney’s Office hired Mr. Paradis, a high-powered
                       7   lawyer with expertise in class action lawsuits related to IT issues, to try to determine the amount of
                       8   the damages that PwC was responsible for. PIR ¶ 12. This, in turn, required Mr. Paradis to spend
                       9   a great deal of time at the LADWP in order to have hands-on access to the billing system.
                      10            Mr. Wright has described how his approach at his previous jobs had always been to be a
                      11   consensus builder. PIR ¶ 113. This approach had worked well for him, and when Mr. Wright came
                      12   on board at the LADWP, his intention was to do the same. He discovered, however, that the depth
                      13   of the divisions within the various departments at the LADWP made this approach unworkable. Id.
                      14   Mr. Wright felt stymied at every turn and was unable to find a guide or mentor among the high-
                      15   ranking, highly political LADWP employees.
                      16            Mr. Wright was also separated from his support network for the first time in his life. The
                      17   commute from Mr. Wright’s home in Riverside to the main LADWP campus on Hope Street was
                      18   over 100 miles round trip and was very difficult unless he left Riverside at 4:30 a.m. to beat the
                      19   bulk of the traffic. So, Mr. Wright rented an apartment in downtown Los Angeles near the LADWP
                      20   campus. It was extremely lonely living alone in the downtown area. He was not making new
                      21   friends, and his new work pressures and long hours were daunting. For a while, one of Mr. Wright’s
                      22   sons moved in with him in Los Angeles, primarily to keep him company. PIR ¶ 112. Shortly
                      23   thereafter, Mr. Wright decided to move back to Riverside and suffer the grueling commute.
                      24   Mr. Wright’s unsettled living situation, combined with what proved to be a very difficult work
                      25   situation at the LADWP, triggered a fresh attack of the deep-seated feelings of not fitting in,
                      26   insecurity, and low self-esteem that had plagued him at intervals throughout his life. PIR ¶ 114.
                      27            Moreover, Mr. Wright felt tokenized as an out, gay man.            The Deputy Mayor of
                      28   Infrastructure openly discussed the fact that Mr. Wright is gay with Mr. Wright prior to
VEDDER PRICE (CA), LLP
                                                                                   DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                         -10-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 16 of 31 Page ID #:359



                       1   Mr. Wright’s promotion to General Manager of LADWP. Id. Mr. Wright understood that the
                       2   Mayor valued diversity, but his low self-esteem made him question whether the primary reason he
                       3   was being promoted was because he was gay, and not because he possessed the skills to succeed in
                       4   his position. These feelings were reinforced in June 2017 at the Mayor’s LGBT Pride Month
                       5   Garden Party, where Mayor Garcetti announced to the crowd of about 600 that they could now all
                       6   pay their utility bills to the “gay general manager of LADWP.” Id. Mr. Wright recalls that, “rather
                       7   than making me feel more confident, it reinforced my feelings that I was only in this position to
                       8   meet an informal quota, rather than because I was qualified for the position.” Id.
                       9            Viewing Mr. Wright’s situation objectively, it appears that Mr. Wright had gotten in way
                      10   over his head politically at the LADWP and should have resigned his post, rather than accepting a
                      11   series of promotions that only made the situation worse. Mr. Wright unfortunately did not follow
                      12   his instincts, which were telling him to put in his resignation. Instead, he did what he had all his
                      13   life—he tried very hard to succeed. By 2017, he had been promoted to General Manager.
                      14            B.      Paul Paradis’s Outsized Influence on Mr. Wright
                      15            Mr. Paradis entered Mr. Wright’s life when Mr. Wright was dealing with the stress of his
                      16   job, the loneliness of living alone in Los Angeles, the reemergence of physical health problems, a
                      17   resurgence of emotional issues that were never properly dealt with in his youth, and grief over his
                      18   father’s death. Mr. Wright’s father Alan died on October 1, 2016. PIR ¶ 88. Mr. Wright had
                      19   always been close to his father, but after his mother’s death a decade prior, Mr. Wright and Alan’s
                      20   relationship had deepened markedly. In effect, Mr. Wright and his siblings were Alan’s best friends
                      21   during his final years. PIR ¶ 89. Naturally, Mr. Wright felt a deep void in his life after his father
                      22   died. They had been in the habit of talking on the phone frequently and getting together on many
                      23   weekends. Mr. Wright had agreed to serve as executor of Alan’s estate, and for the first six months
                      24   after his death, in addition to dealing with the constant demands of his LADWP job, he was obliged
                      25   to spend a considerable amount of time working with the entities and individuals named in the will.
                      26   Mr. Wright believes that the fact that he was executor of Alan’s will kept his father’s death fresh
                      27   in his mind and made it all the more painful. Id.
                      28
VEDDER PRICE (CA), LLP
                                                                                  DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                        -11-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 17 of 31 Page ID #:360



                       1             At the same time in 2016, Mr. Paradis had been awarded two contracts retaining him to
                       2   repair the LADWP billing system. PIR ¶¶ 12-13. During the second half of 2016, Mr. Paradis
                       3   occupied an office near Mr. Wright’s at the downtown LADWP campus. Given the nature of their
                       4   duties, the two men interacted on a frequent basis. Once Mr. Paradis learned that Mr. Wright was
                       5   very depressed over his father’s death, he went out of his way to express his sympathy on numerous
                       6   occasions, which endeared him to Mr. Wright as he was grieving his father.
                       7             Mr. Wright perceived Mr. Paradis to be an extremely talented individual.11 Mr. Paradis was
                       8   unusual in that he not only possessed first-rate legal expertise, but he was also quite well-versed in
                       9   the general area of information technology. These two qualities in one individual made him an
                      10   attractive candidate for jobs requiring a strong working knowledge in both areas. In addition,
                      11   Mr. Paradis possessed substantial charisma, yet appeared to be somewhat of a loner from
                      12   Mr. Wright’s perspective. When Mr. Wright started interacting with Mr. Paradis, he was struck by
                      13   the fact that this well-known lawyer seemed to be effective at implementing positive changes in the
                      14   LADWP billing system. Mr. Wright recalls that over the course of approximately 24 months,
                      15   Mr. Paradis’s team identified and implemented around 1,000 “fixes,” which slowly improved the
                      16   overall functionality of the system.12
                      17             Most importantly, however, was the fact that after Mr. Wright expressed his frustration over
                      18   his inability to build any kind of consensus among the key figures working at the LADWP,
                      19   Mr. Paradis, beginning in early 2017, took Mr. Wright under his wing and began serving as a kind
                      20   of mentor. Recognizing that Mr. Wright’s abilities, especially in technical areas, far exceeded his
                      21   own, Mr. Paradis embarked upon a program of subtle and not-so-subtle flattery. This occurred
                      22   during an ongoing conversation between the two men that began in early 2017 and continued for
                      23   the next few years. A key prong in Mr. Paradis’s strategy to manipulate Mr. Wright was to compare
                      24   Mr. Wright favorably to the other key LADWP employees, whom he tended to dismiss with
                      25   pejorative comments. Mr. Wright recalls:
                      26

                      27
                           11
                                See supra footnote 1.
                      28   12
                                See supra footnote 1.
VEDDER PRICE (CA), LLP
                                                                                    DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -12-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 18 of 31 Page ID #:361



                       1                    I now realize that… Mr. Paradis had ulterior motives and was
                                            working hard to butter me up. He would frequently say things like,
                       2                    “You’re tremendous. Only you see the common-sense answers that
                       3                    everyone else here in billing is missing. They’re all a bunch of
                                            morons, Mr. Wright. You’re the only one of the whole lot with any
                       4                    brains.”13

                       5             Thus, Mr. Wright was already well-disposed toward Mr. Paradis for several reasons. First,

                       6   Mr. Wright perceived Mr. Paradis as being a highly competent individual. This was borne out by

                       7   the fact that Mr. Paradis’s team was succeeding to some degree in improving the LADWP’s broken

                       8   billing system. Second, Mr. Paradis’s consistent praise of Mr. Wright’s abilities and overall

                       9   competence was very reassuring to Mr. Wright, given that he felt perennially insecure concerning

                      10   his position at the LADWP. Mr. Wright viewed Mr. Paradis as both a professional mentor and a

                      11   replacement father figure who truly cared about him and had his best interests at heart, just like a

                      12   real father would.

                      13             C.     The Illegal Agreement

                      14             During late 2016 and early 2017, Mr. Wright and Mr. Paradis developed what Mr. Wright

                      15   viewed as a close personal friendship, in which they were in frequent communication in person and

                      16   electronically. PIR ¶ 14. Mr. Paradis leveraged this friendship to bring up the prospect of

                      17   performing additional services for the LADWP. He could not provide future remediation services

                      18   for the LADWP through his law firm due to state bar rules prohibiting law firms from providing

                      19   non-legal services. PIR ¶ 15. Instead, Mr. Paradis said that he would form a new company,

                      20   Aventador, that could provide future remediation and other services to the LADWP under a

                      21   separate contract. Id. Mr. Paradis planned to seek a contract worth approximately $30 million. Id.

                      22             As part of his scheme to convince Mr. Wright to lobby for him to be awarded the $30 million

                      23   LADWP contract, Mr. Paradis and his wife began wining and dining Mr. Wright at various

                      24   exclusive restaurants in Southern California. Mr. Paradis also gave Mr. Wright gifts, such as

                      25   Dodgers’ tickets and tickets to a Broadway play. The fact that Mr. Paradis consistently asked

                      26

                      27

                      28   13
                                See supra footnote 1.
VEDDER PRICE (CA), LLP
                                                                                   DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -13-                             2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 19 of 31 Page ID #:362



                       1   Mr. Wright out to dinner reaffirmed in Mr. Wright’s mind the notion that Mr. Paradis really cared
                       2   about him and really was his friend.14
                       3            Then, on February 10, 2017, Mr. Paradis offered Mr. Wright a job: Mr. Paradis would
                       4   name him Aventador’s Chief Executive Officer once he retired from the LADWP, with benefits
                       5   including an annual salary of $1 million, a $600,000 signing bonus, and a luxury company car. PIR
                       6   ¶ 17. The fact that Mr. Paradis told Mr. Wright that an excellent job with a handsome salary
                       7   awaited him a few years down the road reaffirmed Mr. Wright’s belief that Mr. Paradis viewed him
                       8   as a worthy individual. Mr. Wright recalls Mr. Paradis’s flattery: “[w]hen I asked him why he
                       9   would not be CEO himself, [Mr. Paradis] told me, ‘The answer is simple. You’ll be so much better
                      10   at it than I would be.’”15
                      11            Implied in all of this, however, was the sticking point. For Mr. Paradis’s plans regarding
                      12   Aventador to come to fruition, which in theory meant Mr. Wright would ultimately be hired as
                      13   CEO, it was first necessary that Mr. Paradis be awarded the $30 million LADWP contract. Given
                      14   this scenario, Mr. Wright worked to ensure Mr. Paradis received the contract by advocating in favor
                      15   of the Aventador proposal to the LADWP Board members who were responsible for approving the
                      16   contract. Mr. Wright knew this agreement was illegal, and he and Mr. Paradis discussed the need
                      17   to keep their agreement confidential. On June 6, 2017, Mr. Wright urged the LADWP Board to
                      18   approve the contract. PIR ¶¶ 32-33. The Board voted unanimously to award Aventador a three-
                      19   year, $30 million no-bid contract. PIR ¶ 34. Mr. Wright did not disclose to the members of the
                      20   LADWP Board the perks and offer of employment by Mr. Paradis.
                      21            It must be noted that although Mr. Wright was interested in the possibility that he would
                      22   ultimately serve as CEO at Aventador, he was never entirely convinced that Mr. Paradis’s plans
                      23   would come to fruition. Mr. Wright’s skepticism was such that, in October of 2018, as he was
                      24   becoming increasingly disgruntled at the LADWP, he applied for a management-level job at
                      25   another California utility agency.16
                      26

                      27   14
                              See supra, footnote 1.
                           15
                              See supra, footnote 1.
                      28   16
                              See supra, footnote 1.
VEDDER PRICE (CA), LLP
                                                                                  DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                        -14-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 20 of 31 Page ID #:363



                       1            However, during the remainder of 2017 up until early 2019, Mr. Wright continued to
                       2   collaborate with Mr. Paradis to build and market Aventador, and even made plans to create a new
                       3   company to replace Aventador when Aventador became subject to bad publicity. PIR ¶ 37. In
                       4   2019, the LADWP Board voted to terminate the Aventador contract, but agreed to retain the
                       5   company’s services if Mr. Paradis sold his stake in the company and disavowed his interest in the
                       6   company, which he purported to do. PIR ¶ 42. Mr. Wright began to fear his relationship with
                       7   Mr. Paradis and their Aventador plans would be discovered. PIR ¶ 43. Mr. Wright got rid of
                       8   incriminating documents at his office, and asked Mr. Paradis to delete data from the “burner” cell
                       9   phone and Aventador laptop he had acquired for Mr. Wright. Id.
                      10            Mr. Wright’s relationship with Mr. Paradis led to Mr. Wright losing his moral compass for
                      11   the first and only time in his 27 years of working in the public sector. Mr. Wright is fully and
                      12   painfully aware that the fact that Mr. Paradis used and manipulated him in order to get him to lobby
                      13   for Mr. Paradis to receive the $30 million LADWP contract does not absolve him of responsibility
                      14   for the criminal conduct to which he has pleaded guilty. Mr. Wright’s remorse and contrition for
                      15   having broken the law is profound. He knows he will regret this mistake for the rest of his life.
                      16   IV.      COOPERATION EFFORTS
                      17            Mr. Wright’s cooperation with the Government began very soon after his arrest in June
                      18   2019. Initially, Mr. Wright was in a state of shock and, that June, he falsely stated that he did not
                      19   have any financial or business interest in Aventador during an interview with the FBI and the United
                      20   States Attorney’s Office. Subsequently, Mr. Wright calmed down and was transparent and candid
                      21   in his answers to all the Government’s questions.
                      22            From that point on, Mr. Wright fully cooperated with the Government during its
                      23   investigation. He realized that his conduct fell far short of what he expected of himself and tried
                      24   to assist the Government to understand the extent of the misconduct, all in an effort to try to repent
                      25   for his misdeeds. Because Mr. Wright had held various high-ranking positions at the LADWP,
                      26   culminating in General Manager, he knew a great many key people in house at the LADWP. He
                      27   also knew and interacted with most of the Board members as well as the Mayor and many of his
                      28   staff members, not to mention Mr. Paradis and people associated with Mr. Paradis. In an early
VEDDER PRICE (CA), LLP
                                                                                   DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                         -15-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 21 of 31 Page ID #:364



                       1   proffer session, on the strength of his potential cooperation, the Government made the decision to
                       2   have him work undercover wearing a wire as a confidential informant. Based on the Government’s
                       3   directions, Mr. Wright recorded numerous phone calls and meetings with a large number of
                       4   individuals who are thought to be persons of interest in the Government’s investigation. During
                       5   his undercover work, Mr. Wright responded promptly to each and every request made by the
                       6   Government. He got back to them quickly with summaries after every recorded meeting and phone
                       7   call. He regularly suggested ways in which he could aid the investigation.
                       8            The Government did not offer Mr. Wright a § 5K1.1 downward departure for his
                       9   cooperation. He nonetheless believed that it would be important as part of his own repentance and
                      10   remorse for his misconduct. He respectfully requests that the Court consider his cooperation.
                      11                                             ARGUMENT
                      12            First and foremost, Mr. Wright accepts responsibility. Notwithstanding Mr. Wright’s guilt,
                      13   the facts and circumstances of this case support a downward variance from the applicable
                      14   Guidelines range. After United States v. Booker, 543 U.S. 220, 245 (2005), the Sentencing
                      15   Guidelines are purely advisory. Moreover, the Supreme Court has clearly directed that the
                      16   Sentencing Guidelines “continue to guide district courts in exercising their discretion by serving as
                      17   the framework for sentencing, but they do not constrain that discretion.” Beckles v. United States,
                      18   137 S. Ct. 886, 894 (2017) (citations and internal quotation marks omitted).
                      19            The sentencing court cannot favor a guideline sentence by relying exclusively on the
                      20   Sentencing Guidelines and “must make an individualized assessment based on the facts presented”
                      21   and the factors set forth in 18 U.S.C. § 3553(a). Gall v. United States, 552 U.S. 38, 49 (2007); Rita
                      22   v. United States, 551 U.S. 338, 350–51 (2007). The importance of Booker is “sentencing judges
                      23   have broad discretion to impose a non-guideline sentence by weighing the factors under § 3553(a).”
                      24   United States v. Robertson, 662 F.3d 871, 875 (7th Cir. 2011); see also United States v. Cardenas-
                      25   Juarez, 469 F.3d 1331, 1334 (9th Cir. 2006) (holding that district courts “have the discretion to
                      26   impose non-Guidelines sentences.”).
                      27            The instant case exemplifies why the Supreme Court rejected mandatory and mechanical
                      28   application of the Sentencing Guidelines and restored district courts’ discretion “to consider every
VEDDER PRICE (CA), LLP
                                                                                  DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                        -16-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 22 of 31 Page ID #:365



                       1   convicted person as an individual and every case as a unique study in the human failings that
                       2   sometimes mitigate, sometimes magnify, the crime and the punishment to ensue.” Pepper v. United
                       3   States, 562 U.S. 476, 487 (2011). Indeed, the facts and circumstances of Mr. Wright’s case support
                       4   a downward variance from the Guidelines range for a number of reasons, including (1) the minimal
                       5   tangible benefits Mr. Wright received; (2) Mr. Wright’s long career as a model public servant; and
                       6   (3) Mr. Wright’s many positive personal characteristics and prior clean record.
                       7   I.       THE NATURE AND CIRCUMSTANCES OF THE OFFENSE SUPPORT A
                                    LOWER SENTENCE
                       8
                                    Due to the complexity of financial crime cases, courts regularly consider whether the
                       9
                           amount of Guidelines loss overstates the defendant’s culpability, warranting a downward departure.
                      10
                           See, e.g., United States v. Lauersen, 348 F.3d 329, 343–44 (2d Cir. 2003) (holding that where
                      11
                           multiple adjustments result in very high offense level that substantially overstates seriousness of
                      12
                           offense, district court may depart downward); United States v. Suarez-Reyes, 2012 U.S. Dist.
                      13
                           LEXIS 178771, at *18, *21 (D. Neb. Dec. 18, 2012) (finding application of a 14-level loss
                      14
                           enhancement would “exaggerate [defendant’s] culpability and would not be an accurate measure
                      15
                           of his blameworthiness,” and applying a downward variance).
                      16
                                    In this case, taking these factors into consideration, Mr. Wright respectfully submits that
                      17
                           the Court should grant a downward variance. This was a serious offense and nothing in this
                      18
                           sentencing memorandum or any of the papers filed on behalf of Mr. Wright in connection with
                      19
                           sentencing is intended to suggest otherwise. Nevertheless, Mr. Wright did not actually receive
                      20
                           significant benefits in exchange for his assistance in securing the approval of the Aventador contract
                      21
                           by the LADWP Board through his public support for the proposal. Nor was it ever certain that
                      22
                           Mr. Wright would receive significant benefits in exchange for his support. The benefits that were
                      23
                           promised to Mr. Wright in connection with a future role at Aventador and that are driving the
                      24
                           Sentencing Guidelines in this case were going to be provided at an uncertain time that was several
                      25
                           years in the future. Whether or not the benefits would actually occur was far from guaranteed, and
                      26
                           the timing was always vague.
                      27

                      28
VEDDER PRICE (CA), LLP
                                                                                   DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                         -17-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 23 of 31 Page ID #:366



                       1            While Section 666(a)(1)(B) bribery applies to “anything of value,” this case is an outlier in
                       2   that most bribery cases involve transactions more material than the mere promise of employment,
                       3   without any actual payment received. See United States v. Gorman, 807 F.2d 1299 (6th Cir. 1986)
                       4   (“thing of value” in bribery case was the promise of future employment as well as loans received
                       5   by a federal prosecutor who was in significant financial distress and took a series of actions to
                       6   demand payment in exchange for ending an investigation); United States v. Scruggs, 916 F. Supp.
                       7   2d 670, 701 (N.D. Miss. 2012) (“thing of value” was defendant’s assistance in securing a potential
                       8   federal judgeship in exchange for a favorable ruling in pending litigation).
                       9            Although Mr. Wright was promised a high salary and company car when he became CEO
                      10   of Aventador, what he ultimately received from Mr. Paradis amounted to isolated dinners and other
                      11   entertainment, such as sporting event or concert tickets, that came at a time when Mr. Wright felt
                      12   he had a close personal friendship with Mr. Paradis. There were no cash payments or substantial
                      13   gifts given to Mr. Wright in exchange for the assistance he provided Mr. Paradis.
                      14            In this respect, the Guidelines loss suggests a magnitude of harm from the offense that is
                      15   not actually present. The PIR used the value of the promised salary and signing bonus ($1.6
                      16   million) as the number for the bribe payment—not the full value of the unknown benefit received
                      17   in exchange for the bribe—in applying a 16-level increase. Even then, the PIR’s use of the
                      18   Guidelines figure increases the specific offense characteristic under U.S.S.G. § 2C1.1(b)(1) and
                      19   U.S.S.G. § 2B1.1(b)(1)(I) by 16 levels, resulting in the addition of more than 100 months to the
                      20   range of imprisonment in the Sentencing Table. For these reasons, the offense level substantially
                      21   overstates the seriousness of the offense, and a downward departure and/or variance is necessary.
                      22   See U.S.S.G. § 2B1.1, App. Note 21(C). In fact, probation’s letter to the Court recommends a
                      23   downward variance, in part because the amount is overstated:
                      24                    The Probation Officer notes that while Wright received perks
                                            like meals, travel, and event tickets from his co-participant, he
                      25
                                            did not receive the proposed job and $1,000,000 salary, the
                      26                    luxury car, or the signing bonus that he and the co-participant
                                            agreed on as part of the bribery scheme.
                      27
                           ECF 35 at 6.
                      28
VEDDER PRICE (CA), LLP
                                                                                   DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -18-                             2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 24 of 31 Page ID #:367



                       1             For all of these reasons, Mr. Wright respectfully moves the Court for a substantial
                       2   downward variance from the applicable Guidelines range under 18 U.S.C. § 3553(a)(1) because the
                       3   offense level under that guideline substantially overstates the seriousness of the offense.
                       4   II.       THE HISTORY AND CHARACTERISTICS OF THE DEFENDANT SUPPORT A
                                     LOWER SENTENCE
                       5
                                     The history of Mr. Wright and his family is detailed in the factual background
                       6
                           section above. The obstacles Mr. Wright has overcome and the good he has done demonstrate
                       7
                           Mr. Wright is an upstanding man who was dealing with multiple issues at the time of the instant
                       8
                           offense. This offense is a jarring anomaly in Mr. Wright’s otherwise remarkable life. Under 18
                       9
                           U.S.C. § 3553(a), courts should consider these individual circumstances when considering the
                      10
                           sentencing factors, including (1) the nature of the offense and history and characteristics of the
                      11
                           defendant; (2) the purpose of sentencing; (3) the kinds of sentences available; (4) the Sentencing
                      12
                           Guidelines; (5) the policy statements issued by the Sentencing Commission; (6) the need to avoid
                      13
                           unwarranted disparities among similar offenders; and (7) the need to provide restitution to any
                      14
                           victims of the offense.17
                      15
                                     One court aptly summarized the importance of the consideration of a defendant’s history
                      16
                           and characteristics as part of the analysis under Section 3553(a):
                      17
                                             But, surely, if ever a man is to receive credit for the good he has done,
                      18                     and his immediate misconduct assessed in the context of his overall
                      19                     life hitherto, it should be at the moment of his sentencing, when his
                                             very future hangs in the balance. This elementary principle of
                      20                     weighing the good with the bad, which is common to all the great
                                             religions, moral philosophies, and systems of justice, was plainly part
                      21                     of what Congress had in mind when it directed courts to consider, as
                                             a necessary sentencing factor, “the history and characteristics of the
                      22
                                             defendant.”
                      23   United States v. Adelson, 441 F. Supp. 2d 506, 513–14 (S.D.N.Y. 2006), aff’d, 301 F. App’x 92
                      24   (2d Cir. 2008). Mr. Wright’s educational and employment record, in combination with his mental
                      25   and physical health history and lack of a criminal history, are relevant mitigating factors that are
                      26   not considered or may not be adequately taken into account by the Guidelines and therefore, in the
                      27

                      28   17
                                Restitution is not an issue in this case. PIR ¶ 181.
VEDDER PRICE (CA), LLP
                                                                                       DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                            -19-                               2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 25 of 31 Page ID #:368



                       1   absence of aggravating factors, support a downward variance from the low-end of the advisory
                       2   guideline range.
                       3            A.      Mr. Wright’s Long Career as An Exemplary Public Servant
                       4            Prior to being named General Manager of the LADWP, Mr. Wright had worked
                       5   successfully for nearly three decades in managerial positions in the public sector. He had always
                       6   been an excellent manager and, apart from the instant matter, Mr. Wright has served the citizens of
                       7   California well and faithfully. His strong work ethic and passion for public service enabled him to
                       8   work his way up to the highest levels of the public utility industry. In mitigation, Probation noted
                       9   that “[p]rior to his involvement in the instant offense, Wright had established a long, successful,
                      10   and productive career free of impropriety.” ECF 35 at 6.
                      11            Moreover, Mr. Wright’s colleagues consistently describe him as having gone above and
                      12   beyond as a public servant. Mr. Bacich writes: “[m]any of the solutions Mr. Wright brought to
                      13   fruition were not even part of his duties as outlined for the General Manager of his department.
                      14   They were for the good of the city and community overall.” M. Bacich Ltr., Ex. 7. Frederick
                      15   Mason Lewis, who served as General Manager of City of Banning Electrical Utilities, writes that
                      16   “Dave was always looking for ways to help out individuals and organizations that needed
                      17   assistance” and even ensured that Riverside, as the larger utility with more resources, provided as
                      18   much support and assistance to nearby cities like Banning, Colton, and Azusa as necessary.
                      19   F. Lewis Ltr., Ex. 8.
                      20            B.      Mr. Wright Is A Pillar of His Family and Community
                      21            In his community, Mr. Wright used his position to help those around him, sponsoring
                      22   community events and creating a community low-income support system. Mr. Wright’s kindness
                      23   made a difference on a personal level. Jerry Rogers, who has known Mr. Wright since 1989 and
                      24   worked with him at RPU, wrote “Mr. Wright’s compassion and character have always been his best
                      25   qualities.” For example:
                      26                    Mr. Wright managed an employee who had falsely filled out her
                                            application for a promotion. Her transgression was later discovered
                      27
                                            after she had been on the job for a couple of years. While her
                      28                    performance on the job was very good, Mr. Wright, as General
VEDDER PRICE (CA), LLP
                                                                                  DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                         -20-                             2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 26 of 31 Page ID #:369



                       1                    Manager, had to deal with the falsified application. After much
                                            discussion and thought, Mr. Wright put a plan together that demoted
                       2                    her back to her original position and required her to obtain her GED
                       3                    within one year. Mr. Wright could have simply terminated her
                                            employment, but the humanitarian side of his character saved her
                       4                    career and her livelihood. Today this woman is a valuable employee
                                            of Riverside Public Utilities. She obtained her GED in just eight
                       5                    weeks and also her bachelors and master’s degrees from California
                                            Baptist University. A true success story made possible by
                       6                    Mr. Wright’s action and the employee’s determination after being
                       7                    provided a second chance. J. Rogers Ltr., Ex. 9.
                                    As for his family, Mr. Wright has been an excellent father to his three children, a highly
                       8
                           supportive figure to his ex-wife, and a loving, committed partner for the past 18 years. As Mr.
                       9
                           Wright’s partner Vincent writes, “David has always been a fair, compassionate, and trustworthy
                      10
                           individual that many people could always rely and count on; many of us will continue to love and
                      11
                           respect him. It has been that mutual respect and love that has kept us together for 18 years.” V.
                      12
                           Price Ltr., Ex. 6. Mr. Wright has provided support and stability to his family through many
                      13
                           upheavals. As described above, Mr. Wright made it his mission to ensure his ex-wife, Carolyn,
                      14
                           landed on her feet after the divorce. He financially supported Carolyn while she went to night
                      15
                           school and pursued her teaching credentials—even though he was not obligated to do so—because
                      16
                           it was the right thing to do. Carolyn observes: “Dave loves his family so much. He is always there
                      17
                           when any of us need him.” C. Wright Ltr., Ex. 3.
                      18
                                    Mr. Wright shares a good relationship with his three sons and five grandchildren, and they
                      19
                           see each other at least once per week, and sometimes more. PIR ¶ 96. In his letter, Mr. Wright’s
                      20
                           son Spencer writes:
                      21

                      22                    My [dad] plays an active role with his children, grandchildren,
                                            partner, and my mother. He has always been there to call and talk to
                      23                    you about your day, offer advice, console you when you are having
                                            a rough time. He cares deeply about his family. He has been there
                      24                    to provide guidance to my brothers and me, and to watch his
                      25                    grandchildren grow up. He attends their t-ball games, dance recitals,
                                            birthdays, hangs out with them on weekends and weekdays, the list
                      26                    goes on. He loves all of us and we love him. S. Wright Ltr., Ex. 5.

                      27            Finally, Mr. Wright’s primary pastime outside of work benefits his community. Mr. Wright

                      28   has been fixing up houses since he was an adolescent. For years he has helped his friends and
VEDDER PRICE (CA), LLP
                                                                                   DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                         -21-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 27 of 31 Page ID #:370



                       1   family with their homes in Anaheim and Riverside. PIR ¶ 117. Mr. Wright even previously won
                       2   a Neighborhood Beautification Award.
                       3            The letters submitted by those who know Mr. Wright best speak for themselves. He is
                       4   regarded by everyone with whom he comes into contact as an honest, kind, and caring man of
                       5   integrity. Mr. Wright’s greatest wish is to continue to be a productive member of society as he
                       6   enters his later years, whether that means continuing to help with his grandchildren, designing yards
                       7   for his friends, or mentoring gay youth. PIR ¶¶ 116-18. Mr. Wright is heartsick over the mistakes
                       8   he has made. He is a man of high values, and his actions and mistakes in this case have brought
                       9   shame upon himself and his family.
                      10            C.      Mr. Wright’s Clean Record
                      11            Mr. Wright’s total absence of a criminal history goes beyond the conduct captured by the
                      12   sentencing guidelines’ Criminal History Category I and demonstrates how much of an outlier this
                      13   conduct is in his otherwise upstanding life. Probation’s letter to the Court notes that:
                      14                    Wright not only has no criminal history, he does not have any history
                                            of law enforcement contact. It appears that his behavior in the instant
                      15
                                            offense represents a marked deviation from an otherwise law-abiding
                      16                    life.

                      17   ECF 35 at 6; see United States v. Howe, 543 F.3d 128, 133 (3d Cir. 2008) (affirming below

                      18   guideline sentence based, in part, on finding that defendant guilty of two counts of wire fraud had

                      19   made an “isolated mistake”). The support letters submitted by Mr. Wright’s family and others

                      20   consistently demonstrate their shock at his offense, as it was completely out of character—a lapse

                      21   in judgment. United States v. Suarez-Reyes, 2012 U.S. Dist. LEXIS 178771, at *16–18 (D. Neb.

                      22   Dec. 18, 2012); United States v. Rowan, No. 06-321, 2007 U.S. Dist. LEXIS 2126, at *26–30 (E.D.

                      23   Pa. Jan. 10, 2007) (imposing sentence of probation with home confinement for mail fraud

                      24   conviction based on defendant’s history and isolated nature of crime in that history).

                      25            D.      Need to Avoid Unwarranted Disparities Among Similar Offenders

                      26            Under U.S.S.G. § 3553(a)(6), the court should consider the need to avoid unwarranted

                      27   sentence disparities among defendants with similar records who have been found guilty of similar

                      28   conduct. U.S.S.G. § 3553(a)(6). According to the U.S. Sentencing Commission’s data analyzer,
VEDDER PRICE (CA), LLP
                                                                                    DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -22-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 28 of 31 Page ID #:371



                       1   in 2020, 68.4% of comparable defendants—i.e., defendants sentenced for bribery/corruption, in
                       2   sentencing zone D, with a criminal history category of I, in California—were sentenced to up to 24
                       3   months.18 In fact, the average sentence for Mr. Wright’s similarly situated defendants was 18
                       4   months. Id. The median was 12 months. Id. Only 5% of similar defendants were given a sentence
                       5   over 60 months. Id. Accordingly, Mr. Wright would be an outlier among similarly situated
                       6   defendants if he receives a sentence beyond 24 months.
                       7             E.     Mr. Wright’s Deep Remorse and Plea for Compassion
                       8             Shortly after his arrest, Mr. Wright took full responsibility during these proceedings and has
                       9   consistently expressed his remorse. Mr. Wright’s contrition is clear to anyone who knows him. He
                      10   is distraught over the fact that he has betrayed the trust of the LADWP and those who know him
                      11   best and looked up to him. Karen A. Hayes worked with Mr. Wright when he served as CFO at the
                      12   LVVWD. Ms. Hayes writes:
                      13                    The recent legal difficulties that Dave has encountered have been
                                            very surprising to me. He has expressed to me his deep remorse
                      14
                                            [regarding] the activities that occurred at the end of an outstanding,
                      15                    distinguished career. Dave deeply loves and is loved by his family.
                                            The consequences of his actions have been devastating to all
                      16                    involved. Lengthy prison sentences would benefit no one and hurt
                                            many. Dave is very aware of the pain and disappointment his actions
                      17                    have caused to those he loves the most and I feel that he should be
                      18                    given the opportunity to put these mistakes behind him and spend the
                                            remainder of his life with his loving friends and family. K. Hayes
                      19                    Ltr., Ex. 11.

                      20             Lynn Scott, who worked at RPU for more than two decades and initially served as

                      21   Mr. Wright’s secretary, observes:

                      22                    I believe a protracted incarceration of Mr. David H. Wright would be
                                            detrimental not only to his family and friends but to the communities
                      23                    who would be lucky to have him work for them and with him. Dave
                                            is a beneficial asset to any establishment and he would be more useful
                      24
                                            working in public than in captivity. . . . I only know Dave as an
                      25                    excellent father, an outstanding boss and manager of people, and as
                                            a kind and helpful friend that gave me, a widowed woman, a chance
                      26                    to excel and be able to take care of myself in my retirement, my
                                            golden years. I can only hope you will see Dave as an asset to any
                      27

                      28   18
                                Data Analyzer, Ex. 1 (https://www.ussc.gov/research/interactive-data-analyzer).
VEDDER PRICE (CA), LLP
                                                                                     DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                           -23-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 29 of 31 Page ID #:372



                       1                    city and its residents and will be lenient with your decision. L. Scott
                                            Ltr., Ex. 12.
                       2
                                    Mr. Wright has further demonstrated his contrition before sentencing by cooperating fully
                       3
                           with the Government, as detailed above.
                       4
                                                                      CONCLUSION
                       5
                                    Mr. Wright is a caring and sensitive man who found himself in way over his head in dealing
                       6
                           with the political environment at the LADWP, which as nearly anyone “in the know” will readily
                       7
                           acknowledge is an extremely difficult place to work. Mr. Wright’s problems were exacerbated by
                       8
                           the fact that his beloved father died about 18 months after Mr. Wright began working at the
                       9
                           LADWP. At that point, Mr. Paradis stepped into the breach and influenced Mr. Wright to make a
                      10
                           number of mistakes that ultimately led to the instant charges. All of this occurred as Mr. Wright
                      11
                           battled health concerns.
                      12
                                    Mr. Paradis’s nefarious influence on Mr. Wright does not excuse his criminal conduct.
                      13
                           Based on his long experience working in the public sector, Mr. Wright knew what the rules were,
                      14
                           and he knew better than to discuss details of potential employment with an outside vendor of his
                      15
                           employer. Although Mr. Wright did not have a vote on the Aventador contract, he abused his
                      16
                           power by supporting the action to the LADWP Board members.
                      17
                                    That being said, there are several powerful reasons to leaven justice with mercy. As the
                      18
                           Court considers what constitutes a reasonable sentence under the factors of Section 3553(a), we
                      19
                           respectfully point to the Supreme Court’s admonition that “the punishment should fit the offender
                      20
                           and not merely the crime.” Pepper, 562 U.S. at 487–88.
                      21
                                    On behalf of Mr. Wright, we respectfully ask the Court to show leniency, in light of his
                      22
                           many positive personal characteristics, his prior spotless record, his excellent work history, and the
                      23
                           fact that, based on his clear contrition, he is extremely unlikely to ever reoffend, and impose a
                      24
                           sentence well below the applicable Guidelines range.
                      25
                                    Given the totality of the factors, however, we strongly believe that justice can be served in
                      26
                           this matter by a sentence less than 24 months. This sentence would be “sufficient, but not greater
                      27
                           than necessary” to serve the ends of justice and fulfill the sentencing aims set forth at 18 U.S.C.
                      28
VEDDER PRICE (CA), LLP
                                                                                    DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                          -24-                              2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 30 of 31 Page ID #:373



                       1   § 3553(a)(2), while leaving Mr. Wright some hope of rebuilding his life, once he has paid for his
                       2   wrongdoing.
                       3
                           Dated: April 12, 2022                              VEDDER PRICE (CA), LLP
                       4

                       5
                                                                              By:
                       6
                                                                                    Anthony Pacheco
                       7                                                            Brooke E. Conner
                                                                                    Maura L. Riley
                       8
                                                                              Attorneys for Defendant
                       9                                                      David H. Wright
                      10

                      11

                      12

                      13

                      14

                      15

                      16

                      17

                      18

                      19

                      20

                      21

                      22

                      23

                      24

                      25

                      26

                      27

                      28
VEDDER PRICE (CA), LLP
                                                                                    DEFENDANT’S SENTENCING MEMORANDUM
   ATTORNEYS AT LAW
      LOS ANGELES
                                                                       -25-                                2:21-CR-00559-1
                           VP/#55494026.6
                    Case 2:21-cr-00559-SB Document 39 Filed 04/12/22 Page 31 of 31 Page ID #:374



                      1                             CERTIFICATE OF SERVICE
                      2         I hereby certify that on April 12, 2022, I caused to be electronically filed a
                      3   true and correct copy of the foregoing with the Clerk of Court using the CM/ECF
                      4   system and that all counsel of record will be served via the Notice of Electronic
                      5   Filing generated by CM/ECF.
                      6
                      7                                                        /s/ Anthony Pacheco
                                                                                Anthony Pacheco
                      8
                      9
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW                                                                         CERTIFICATE OF SERVICE
      LOS ANGELES
